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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al.1                          )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered


           TRUSTEE’S MOTION FOR ENTRY OF AN ORDER UNDER 11 U.S.C. § 366
     (i) PROHIBITING UTILITIES FROM ALTERING, REFUSING, OR DISCONTINUING
       SERVICES; (ii) EFFECTING TEMPORARY “BRIDGE” RELIEF, (iii) APPROVING
           ADEQUATE ASSURANCES OF PAYMENT FOR FUTURE SERVICES; (iv)
            ESTABLISHING PROCEDURES FOR DETERMINING REQUESTS FOR
         ADDITIONAL ADEQUATE ASSURANCE OF PAYMENT BY UTILITIES; and (v)
                        AUTHORIZING TRUSTEE TO CONTINUE
         TO MAKE UTILITY PAYMENTS WITHOUT ASSUMPTION OF AGREEMENTS

          Deborah J. Caruso, as the chapter 7 trustee in these cases (the "Trustee"), by counsel,

 pursuant to §§ 105(a), 366(a), and 507 of Title 11 of the United States Code (the "Bankruptcy

 Code"), hereby moves the Court for entry of an Order (i) prohibiting utility companies currently

 providing services, or which will provide services, to the Affiliated Debtors (as defined below)

 from altering, refusing or discontinuing services to, or discriminating against the Affiliated

 Debtors; (ii) for emergency temporary “bridge” relief; (iii) approving proposed adequate

 assurance of payment for future services; (iv) establishing procedures for determining requests

 for additional assurance of payment from utility companies; and (v) authorizing the Trustee to

 continue to make utility payments without assumption of agreements.

          In support of this Motion (the “Motion”), the Trustee represents:




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  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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                                            JURISDICTION

        1.      This Court has jurisdiction over this application pursuant to 28 U.S.C. §§ 157 and

 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for relief requested are §§ 105(a), 366(a), and 507 of the

 Bankruptcy Code.

                                     I. GENERAL BACKGROUND

        4.      On September 16, 2016 (the “Petition Date”), ITT Educational Services, Inc.

 (“ITT”), ESI Service Corp. (“ESI”) and Daniel Webster College, Inc. ("Webster College," and

 together with ITT and ESI, the “Affiliated Debtors.) filed voluntary petitions for relief under

 chapter 7 of the Bankruptcy Code.

        5.      The Trustee was appointed as chapter 7 trustee in each of the Affiliated Debtors’

 bankruptcy cases on the Petition Date pursuant to section 701(a)(1) of the Bankruptcy Code.

        6.      By Order dated October 4, 2016, the individual bankruptcy cases of the Affiliated

 Debtors were consolidated for purposes of joint administration pursuant to 11 U.S.C. § 105(a),

 Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local

 Rule B-1015-1.

        7.      Prior to the Petition Date, the Affiliated Debtors as a whole were engaged in the

 for-profit enterprise of providing postsecondary degree programs in 137 campus locations in 39

 states and through online services. Due to adverse decisions by regulators and a cash sweep by

 the Debtors' prepetition secured lender, the Debtors experienced a precipitous liquidity crunch

 that resulted in the cessation of virtually all operations and the filing of the chapter 7 cases. At



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 the same time, the Affiliated Debtors lost certification to participate in Federal Student Aid

 programs under Title IV of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1070 et.

 seq. ("Title IV").

         8.      Pursuant to 11 U.S.C. § 704, the Trustee is required to investigate the financial

 affairs of the Affiliated Debtors, to collect and reduce to money all property of the estate, and to

 be accountable for all property received. In furtherance of her duties, the Trustee has begun the

 important task of marshalling, protecting, and preserving the assets of the estates. The Trustee's

 task is a Herculean one - the Trustee anticipates the Affiliated Debtors have nearly 200,000

 creditors, including the approximately 40,000 students who were enrolled in the Affiliated

 Debtors' academic programs on the Petition Date.

         9.      Unlike other for-profit education bankruptcy cases, in this case there is no debtor

 in possession - the Trustee was appointed to oversee the estates of the Debtors. The ability for

 the Trustee to marshall and preserve estate assets is especially important in these cases as,

 notwithstanding the chapter 7 nature, the Trustee anticipates there may be a meaningful recovery

 for unsecured creditors. The estate property consists primarily of real estate holdings and

 accounts receivable, as well as hundreds of thousands of documents, including student records.

 And with only 5 employees of ITT remaining as of the Petition Date, much is being asked of too

 few people. The assets and property of the estates (collectively, the "Estate Property") are

 widespread, located throughout the nearly 140 locations where the Debtors operated.

         10.     Prior to the Petition Date, at each of the many locations, the Affiliated Debtors

 used water, electric, cable and other utility services provided by various companies (the “Utility

 Companies”) in the operation of their business. A listing of the Utility Companies for all Debtor



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 locations is set forth in the schedule attached as Exhibit “A” (“Debtors’ Utility Companies”).

 Utility companies providing services to the Debtors’ owned locations are set forth on Exhibit “B”

 (“Owned Location Utility Companies”)2.

          11.      Although the Affiliated Debtors are no longer providing educational services to

 students, performance of the Trustee’s duties requires that utility services continue to be provided

 by the Debtors’ Utility Companies for all locations for some period of time to allow the Trustee

 and her representatives to remove records and personal property from the various leased and

 owned locations, to evaluate and secure Estate Property, and to otherwise perform the Trustee’s

 duties under the Bankruptcy Code. An interruption of such utility service would severely disrupt

 the Trustee’s performance of her duties and the liquidation of the Affiliated Debtors’ property, to

 the detriment of all creditors. Such duties include record retention and accounting functions

 required by Title IV and the regulations, which must be promptly performed after participation in

 the Title IV programs ceases in order to avoid incurring liability for substantial fines.

          12.      The Trustee anticipates that a substantial number of the Affiliated Debtors'

 locations will not need utility services beyond approximately the end of the current month.

          13.      The Trustee is seeking sufficient funds in the Affiliated Debtors’ estates to make

 immediate and ongoing required post-petition payments with respect to Owned Location Utility

 Companies. At present, the funds on hand total approximately $1,400,000, representing

 collections held by the Affiliated Debtors and turned over to the Trustee shortly after the Petition

 Date and additional funds received by the Trustee. The remaining utilities who have provided




          2
            Time did not allow the Trustee to create a list of Leased Location Utility Companies, however, this list
 will be submitted in a subsequent submission.

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 utility services to the Debtors (“Leased Location Utility Companies”) will be provided adequate

 assurance of payments as more fully described below.

        14.     The Affiliated Debtors’ principal secured creditor, Cerberus Business Finance,

 LLC (“Cerberus”) is in agreement with the need to maintain utility service to permit the Trustee

 to perform her duties in the near and long term. In this regard, on September 28, 2016, the

 Trustee filed a Trustee’s Motion for Interim and Final Orders (i) Authorizing the Use of Cash

 Collateral Pursuant to 11 U.S.C. § 363; (ii) Granting Adequate Protection to Prepetition Lender

 Pursuant to 11 U.S. § 361; and (iii) Granting Related Relief (“Cash Use Motion”), reciting

 Cerberus’ agreement with a proposed interim budget providing for the anticipated utility

 expense.

        15.     The Trustee will soon file a motion to reject real property leases that will provide

 for rejection of most real property leases no later than October 31, 2016.

        16.     In addition, the Trustee is negotiating a borrowing facility from the first secured

 lender, Cerberus, in order to fund the liquidation process and administration of the estate.

        17.     Consequently, to the extent utility payments cannot be made from available cash,

 the utility companies will be provided an administrative expense priority and payments shall be

 made from future liquidation proceeds.

        18.     As stated in the Cash Use Motion, Cerberus acknowledges that the value of its

 collateral greatly exceeds its claim. The Affiliated Debtors project the aggregate value of their

 real estate, personal property and receivables is generally is between $70 million and $125

 million, the vast majority of which is in the real estate holdings. Therefore, payments of

 accruing utilities shall be paid from proceeds, borrowings and liquidation proceeds.



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                      II. RELIEF REQUESTED AND LEGAL BASIS FOR RELIEF

         A.      The Court Should Order that Administrative Priority for Post-Petition
                 Obligations is “Adequate Assurance” of Payment under the Facts of this
                 Case

         19.     Section 366 of the Bankruptcy Code prohibits utilities from altering, refusing or

 discontinuing service to, or discriminating against, a debtor solely on the basis of the

 commencement of a case under title 11 or on account of unpaid prepetition invoices. Pursuant to

 § 366(b) of the Bankruptcy Code further provides that a utility may alter, refuse, or discontinue

 service if, during the twenty (20) day period following the petition date, the utility does not

 receive “adequate assurance of payment” for future services.

         20.     Although § 366 does not define what may constitute “ adequate assurance of

 payment” in a Chapter 7 case,3 the Trustee submits that in the circumstances of the present case,

 the administrative expense priority accorded to the Utility Companies under Bankruptcy Code §§

 503(b) and 507(a)(1), in light of the Affiliated Debtors’ cash on hand and cash collateral budget

 (the “Proposed Adequate Assurance”), is sufficient to adequately assure payment to providers of

 utility services. The estate has, and should continue to have, sufficient funds to make timely

 payments of immediate post-petition obligations of the Owned Location Utility Companies. Of

 course, under Bankruptcy Code § 503(b)(1)(A), post-petition utility charges must be considered

 actual and necessary expenses of administration, and are therefore entitled to priority under

 Bankruptcy Code § 507(a)(1).

         21.     The issue of whether a utility is subject to an unreasonable risk of nonpayment

 must be determined from the facts and circumstances of each case. In re Woodland Corp., 48


         3
           The provisions of subsection (c) describing various types of adequate assurance of payment of
 is expressly limited to Chapter 11 cases.

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 B.R. 623, 625 (Bankr. D.N.M. 1985). It is clear, however, that Bankruptcy Code § 366 only

 requires that assurance of payment be “adequate” – it does not require an absolute guarantee of

 the estate’s ability to pay. In re Great Atlantic & Pacific Tea Co., Inc., 2011 WL 5546954, *6

 (Bankr. S.D.N.Y. Nov.14, 2011); see also In re Caldor, Inc., 199 B.R. 1, 3 (S.D.N.Y 1996), aff’d

 sub. nom., Va. Elec. & Power Co., et al. v. Caldor, Inc.-NY, et al., 117 F.3d 646, 650 (2d Cir.

 1997); In re Crystal Cathedral Ministries, 454 B.R. 124, 128-29 (C.D. Cal. 2011). Additional

 authority for the relief requested herein is found in § 105(a) of the Bankruptcy Code, as the

 Adequate Assurance Deposit and the Adequate Assurance Procedures described herein are

 reasonable, necessary and further the objective of preserving and maximizing the value of Estate

 Property.

        22.     It is within the Court’s discretion to determine the adequacy of assurance of

 payment based on the totality of the circumstances and a balancing of “the utility provider’s need

 to be free from unreasonable risk of nonpayment and the debtor’s scarce financial resources

 during bankruptcy.” Great Atlantic, 2011 WL 5546954, at *5 (citing In re Adelphia Bus.

 Solutions, Inc., 280 B.R. 63, 81 (Bankr. S.D.N.Y. 2002)). Here, the availability of cash on hand

 and an agreed cash collateral budget should provide for utility payments to Owned Location

 Utility Companies. The existence of sufficient equity in real estate and other property makes an

 administrative claim an adequate assurance of payment for Leased Location Utility Companies.

        B.      A Bridge Order is Essential to Prevent Irreparable Harm

        23.     Given the extraordinary size and complexity of the present case, and the press of

 other urgent matters, including negotiation of the above-mentioned cash collateral order and

 budget providing for payment of near term utilities, and retention of professionals and personnel



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 to perform time-sensitive Title IV reporting requirements, the Trustee and her counsel were

 unable to compile the list of Utility Companies and their addresses until very shortly before the

 filing of this Motion, and it was not possible to send prior notice of the initial presentment of

 this Motion to all Utility Companies.

         24.     Accordingly, the Trustee is also requesting, on an emergency basis, that the Court

 enter a "Bridge Order," in the form attached hereto as Exhibit C, to protect the estate during the

 period in which the Utility Companies are notified of this Motion and given an opportunity to

 respond. As set forth in the proposed Bridge Order, a Utility Company served with a copy of the

 Bridge Order would be prohibited from terminating service or demanding deposit as a condition

 of continued services. Copies of both this Motion and the proposed Bridge Order will be served

 upon them, by fax or by U.S. Mail, immediately upon entry of that Bridge Order.

         25.     Under Federal Rule of Bankruptcy Procedure 6003, the Court may grant a motion

 to "use . . . property of the estate, including a motion to pay all or part of a claim that arose before

 the filing of the petition" within 21 days after the chapter 11 case's commencement to the extent

 "relief is necessary to avoid immediate and irreparable harm." Fed. R. Bankr. P. 6003. Here, the

 relief requested is necessary to avoid immediate and irreparable harm to the Affiliated Debtors

 and their estates, and relief on an interim basis is therefore appropriate under Federal Rule of

 Bankruptcy Procedure 6003.

         26.     The urgency of the relief requested justifies immediate relief. To ensure the relief

 requested is implemented immediately, the Trustee requests that the Court waive the notice

 requirements under Federal Rule of Bankruptcy Procedure 6004(a), if applicable, and the 14-day




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 stay of an order authorizing the use, sale, or lease of property under Federal Rule of Bankruptcy

 Procedure 6004(h).

        27.     The Trustee requests that this matter be heard on an emergency basis, in order to

 avoid an inadvertent lapse of the Debtor's or any party's rights, pending a hearing.

        C.      The Court Should Approve the Adequate Assurance Procedures

        28.     To the extent a Utility Provider believes that the Proposed Adequate Assurance is

 not a satisfactory adequate assurance of payment, the Trustee requests enter the Order attached

 hereto as Exhibit “D” (the “Adequate Assurance Procedures Order”) providing that such Utility

 Provider be required to follow streamlined procedures (the “Adequate Assurance Procedures”),

 which the Trustee believes balances the needs of all parties, yet still affords all of the Utility

 Companies the full extent of their rights. The proposed Adequate Assurance Procedures are:

        a. Any Utility Provider desiring assurance of future payment for Utility Service beyond
        the Proposed Adequate Assurance must serve a request (an "Additional Assurance
        Request") so that it is received by the Trustee on or before 20 days following service of
        an the Adequate Procedures Order upon Trustee Deborah J. Caruso and her counsel,
        Rubin & Levin, P.C. at the following address: Rubin & Levin, P.C., 135 N. Pennsylvania
        St., Suite 1400, Indianapolis, IN 46204;

        b. Any Additional Assurance Request must: (i) be made in writing, (ii) specify the
        amount and nature of assurance of payment that would be satisfactory to the Utility
        Provider, (iii) set forth the location(s) for which Utility Services are provided and the
        relevant account number(s), (iv) describe any deposits, prepayments or other security
        currently held by the requesting Utility Provider and (v) explain why the requesting
        Utility Provider believes the Proposed Adequate Assurance is not sufficient adequate
        assurance of future payment;

        c. Upon the Trustee’s receipt of an Additional Assurance Request at the address set
        forth above, the Trustee shall have 60 days from the date of receipt of such request
        (collectively, the "Resolution Period") to negotiate with the requesting Utility Provider to
        resolve its Additional Assurance Request. The Trustee and the applicable Utility
        Provider also may agree to extend the Resolution Period;




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        d. The Trustee, in its discretion, following any necessary consultation with the Affiliated
        Debtors’ secured lenders, may resolve any Additional Assurance Request by mutual
        agreement with the requesting Utility Provider and without further order of the Court, and
        may, in connection with any such resolution, in its discretion, provide the requesting
        Utility Provider with additional assurance of future payment in a form satisfactory to
        the Utility Provider, including, but not limited to, cash deposits, prepayments and/or other
        forms of security, if the Trustee believes such additional assurance is reasonable. The
        Trustee may reduce the amount of the Adequate Assurance Deposit by any amount
        allocated to a particular Utility Provider to the extent consistent with any alternative
        adequate assurance arrangements mutually agreed to by the Trustee and the affected
        Utility Provider;

        e. If the Trustee determines that an Additional Assurance Request is not reasonable or is
        not able to resolve such request during the Resolution Period, the Trustee, during or
        promptly after the Resolution Period, will request a hearing before this Court to
        determine the adequacy of assurances of payment made to the requesting Utility
        Company (the "Determination Hearing"), pursuant to § 366 of the Bankruptcy Code;

        f.      Pending the resolution of the Additional Assurance Request at a Determination
        Hearing, the Utility Provider making such request shall be restrained from discontinuing,
        altering or refusing service to the Affiliated Debtors on account of unpaid charges for
        prepetition services, the commencement of the chapter 11 case, or any objection to the
        Adequate Assurance Deposit, or requiring the Affiliated Debtors to furnish any additional
        deposit or other security for the continued provision of services;

        g. The Proposed Adequate Assurance shall be deemed adequate assurance of payment
        for any Utility Provider that fails to make an Additional Assurance Request.


        D. Amendments to the Utilities Services Lists

        29.     Although the Trustee has used her best efforts to include all Utility Providers in

 Exhibits “A” and “B,” it is possible that one or more Utility Providers may have been

 inadvertently omitted. Accordingly, the Trustee requests authority, without further Order of the

 Court, to supplement the list of Utility Providers to include any omitted Utility Provider. If the

 Trustee supplements the list of Utility Providers subsequent to the filing of this Motion, the

 Trustee will promptly serve a copy of this Motion and the Bridge Order on any Utility Provider

 that is added to the list by such supplement. Furthermore, the Trustee shall also file with the


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 Court a supplemental Exhibit “A” adding the name of the Utility Provider so served. The added

 Utility Provider shall have twenty (20) days from the date of service of this Motion, the

 Bridge Order, and Adequate Assurance Procedures Order if one has been entered to make an

 Additional Assurance Request. If an Additional Assurance Request is made, the Utility Provider

 shall be required to abide by the procedures set forth in any Adequate Assurance Procedures

 Order if one has been entered.

                                   III. RESERVATION OF RIGHTS

        30.     Nothing contained in this Motion is an admission of the validity of any claim

 against the Affiliated Debtors’ estates, a waiver of the Trustee’s or any other party's rights to

 dispute any claim, or an approval or assumption of any agreement, contract, or lease under

 Bankruptcy Code § 365. If this Court grants the relief requested in this Motion, any payment

 made pursuant to the Court's order is not intended and should not be construed as an admission to

 the validity of any particular claim or a waiver of the Trustee’s rights to subsequently dispute

 such claim.

       WHEREFORE, the Trustee respectfully requests that the Court: enter an Order:

       (a)     enter the Bridge Order attached hereto as Exhibit “C,” prohibiting utilities from

 altering, refusing or discontinuing services on account of pre-petition (unpaid) invoices;

       (b)     enter the Order attached hereto as Exhibit “D” approving the Adequate Assurance

 Procedures, and determining that the administrative claim proposed herein shall be deemed to

 constitute adequate assurances of future payment, except as may be provided in a subsequent order

 under the Adequate Assurance Procedures with respect to any Utility Company which files a request

 for additional adequate assurance;



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       (c)     authorize the Trustee to continue to make utility payments without assuming

 agreements; and

       (d)     granting such other and further relief as the court deems proper.

                                                         Respectfully submitted,

                                                         Proposed counsel to the Trustee
                                                         RUBIN & LEVIN, P.C.

                                                     By: /s/ John C. Hoard
                                                        John C. Hoard

                                                         Deborah J. Caruso (Atty. No. 4273-49)
                                                         John C. Hoard (Atty. No. 8024-49)
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                                   CERTIFICATE OF SERVICE


         I hereby certify that on October 4, 2016, a copy of the foregoing Trustee’s Motion for
 Entry of an Order Under 11 U.S.C. § 366 (i) Prohibiting Utilities from Altering, Refusing, or
 Discontinuing Services; (ii) Effecting Temporary “Bridge” Relief; (iii) Approving Adequate
 Assurance of Payment for Future Services; (iv) Establishing Procedures for Determining
 Requests for Additional Adequate Assurance of Payment by Utilities; and (v) Authorizing Trustee
 to Continue Making Utility Payments Without Assumption of Agreements was filed
 electronically. Notice of this filing will be sent to the following parties through the Court’s
 Electronic Case Filing System. Parties may access this filing through the Court’s system.

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 U.S. Trustee ustpregion10.in.ecf@usdoj.gov
 Sally E Veghte sveghte@klehr.com, acollazo@klehr.com
 Michael Benton Willey michael.willey@ag.tn.gov


        I further certify that on October 4, 2016, a copy of the foregoing Trustee’s Motion for
 Entry of an Order Under 11 U.S.C. § 366 (i) Prohibiting Utilities from Altering, Refusing, or
 Discontinuing Services; (ii) Effecting Temporary “Bridge” Relief; (iii) Approving Adequate
 Assurance of Payment for Future Services; (iv) Establishing Procedures for Determining
 Requests for Additional Adequate Assurance of Payment by Utilities; and (v) Authorizing Trustee
 to Continue Making Utility Payments Without Assumption of Agreements was mailed by first-
 class U.S. Mail, postage prepaid, and properly address to the following:

  Eboney Cobb                                 Alan M. Grochal                            Paul Weiser
  Perdue Brandon Fielder Collins              100 E Pratt St 26th Floor                  Bachalter Nemer
  Mott LLP                                    Baltimore, MD 21202                        16435 N Scottsdale Rd Ste 400
  500 E Border Street Suite 640                                                          Scottsdale, AZ 85254
  Arlington, TX 76010

  Elizabeth Weller
  Linebarger Goggan Blair &
  Sampson, LLP
  2777 N. Stemmons Freeway, Ste.
  1000
  Dallas, TX 75207


 All parties listed on Exhibit “A” to the Motion - “Debtors’ Utility Companies”



                                                             /s/ John C. Hoard
                                                                 John C. Hoard
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